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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

PETER WIRZBICKI                                       JURY TRIAL DEMANDED

v.                                             CASE NO. 3:07CV

PENNCRO ASSOCIATES, INC.

                                           COMPLAINT


        1. Plaintiff seeks relief pursuant to the Fair Debt Collection Practices Act ("FDCPA"),

l5 U.S.C. § 1692; the Connecticut Creditor Collection Practices Act, Conn. Gen. Stat.

§ 36a-645 and regulations issued thereunder; or the Connecticut Unfair Trade Practices Act

("CUTPA"), Conn. Gen. Stat. § 42-110a.

        2. The Court has jurisdiction. 15 U.S.C. § 1692k; 28 U.S.C. §1331, § 1367.

        3. Plaintiff is a natural person who is domiciled in Connecticut.

        4. Plaintiff is a consumer within the FDCPA.

        5.   Defendant is a debt collector within the FDCPA.

        6. Defendant violated the FDCPA in connection with collection efforts on behalf of a

utility account.

        7. Defendant continued attempts to contact plaintiff after notification orally and in

writing that he was represented by attorney.

        8. Defendant did not provide plaintiff with the notices required by §1692g.

FIRST COUNT

        9.   In the collection efforts, defendant violated the FDCPA, inter alia, § 1692e, -f, or

-g.
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SECOND COUNT

       10. Within three years prior to the date of this action Defendant engaged in acts and

practices as to plaintiff in violation of the Creditors' Collection Practices Act, §36a-645 et seq.,

or the Consumer Collection Agency Act, § 36a-800 et seq. Conn. Gen. Stat.

       11. Defendant committed unfair or deceptive acts or practices within the meaning of

the Unfair Trade Practices Act, Conn. Gen. Stat. § 42-110a et seq.

WHEREFORE plaintiff respectfully requests this Court to:

   1. Award plaintiff such damages as are permitted by law, both compensatory and punitive,

including $1,000 statutory damages for each communication and from defendant;

   2. Award the plaintiff costs of suit and a reasonable attorney's fee;

   3. Award declaratory and injunctive relief, and such other and further relief as law or equity

       may provide.

                                                       THE PLAINTIFF



                                                       BY__/s/ Joanne S. Faulkner__
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